        Case 15-10761     Doc 141    Filed 01/31/19    Entered 01/31/19 13:12:29   Desc Main
                                UNITED STATES BANKRUPTCY
                                     Document    Page 1 of 1COURT
                                   DISTRICT OF MASSACHUSETTS
                                  Proceeding Memorandum/Order

In Re: Roosevelt Coles and Karen Kappler Coles                      Case/AP Number 15-10761 -FJB
                                                                    Chapter 13

       #131 Notice of Non-Compliance filed by Creditor U.S. Bank Trust National Association, as
       Trustee of the Tiki Series III Trust Re: [123] Order Re: [85] Motion For Relief From Stay.
        (Swain, Michael)
       #134 Response filed by Joint Debtor Karen Kappler Coles, Debtor Roosevelt Coles. (Parks,
       William)
       #140 Supplemental [134] Response filed by Joint Debtor Karen Kappler Coles, Debtor
       Roosevelt Coles. (Parks, William)
COURT ACTION:
_________Hearing held
_________Granted    __________ Approved ___________ Moot
_________ Denied    __________ Denied without prejudice      __________Withdrawn in open court
_________ Overruled __________ Sustained
_________Continued to___________________________________________________________________________
_________Proposed order to be submitted by _____________________________________________________
_________Stipulation to be submitted by_________________________________________________________
_________No appearance by ______________________________________________________________________
Show Cause Order    __________Released     ___________Enforced

DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:

Hearing held. The Debtor is directed to make payments in certified funds to U.S Bank Trust
National Association in the amounts of $15,206.86 and $2,103.41 by 4:30 P.M. on March 1, 2019.
Failing which, U.S Bank Trust National Association shall file an affidavit of non-compliance
and the motion for relief from stay shall be allowed without further process or hearing.




                                           IT IS SO ORDERED:




                                                                                  01/31/2019
                                           ________________________________Dated:________
                                           Frank J. Bailey
                                           United States Bankruptcy Judge
